         Case 1:17-cr-00201-ABJ Document 335 Filed 06/25/18 Page 1 of 3



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


                                                 )
UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
                   v.                            )      Crim. No. 1:17-cr-00201-ABJ
                                                 )
                                                 )      Judge Amy Berman Jackson
PAUL J. MANAFORT, JR.,                           )
                                                 )
                                                 )
                        Defendant.               )
                                                 )


                                     NOTICE OF APPEAL

       Notice is hereby given that, pursuant to 18 U.S.C. § 3145(c), Defendant Paul J. Manafort,

Jr. hereby appeals to the United States Court of Appeals for the District of Columbia Circuit

from this Court’s order in the above-captioned proceeding, entered on the 15th day of June 2018

(Dkt. No. 328), granting the government’s motion to revoke Defendant’s pretrial release and

denying Defendant’s motion to stay the order of detention pending appeal, and from all rulings

and orders merged therein, and all other underlying or related orders, rulings, and findings.
         Case 1:17-cr-00201-ABJ Document 335 Filed 06/25/18 Page 2 of 3



Dated:   June 25, 2018                     Respectfully submitted,
         Washington, D.C.
                                           /s/ Kevin M. Downing
                                           Kevin M. Downing
                                           (D.C. Bar #1013984)
                                           601 New Jersey Avenue, N.W.
                                           Suite 620
                                           Washington, D.C. 20001
                                           (202) 754-1992
                                           kevindowning@kdowninglaw.com

                                           /s/ Thomas E. Zehnle
                                           Thomas E. Zehnle
                                           (D.C. Bar #415556)
                                           601 New Jersey Avenue, N.W.
                                           Suite 620
                                           Washington, D.C. 20001
                                           (202) 368-4668
                                           tezehnle@gmail.com

                                           /s/ Richard Westling
                                           Richard Westling
                                           (D.C. Bar #990496)
                                           1227 25th Street, N.W.
                                           Washington, D.C. 20037
                                           (202) 861-1868
                                           rwestling@ebglaw.com

                                           Counsel for Paul J. Manafort, Jr.




                                       2
          Case 1:17-cr-00201-ABJ Document 335 Filed 06/25/18 Page 3 of 3



                               CERTIFICATE OF SERVICE

        I hereby certify that on June 25, 2018, I electronically filed the foregoing Notice of

Appeal with the Clerk of the Court using the Court’s CM/ECF system, which will send notice of

this filing to all parties.



                                                          /s/ Kevin M. Downing
                                                          Kevin M. Downing




                                              3
